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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF VIRGINIA
                             Norfolk Division


 UNITED STATES OF AMERICA

 v.                                                Criminal No. 2:05cr134

 RICARDO BORNALES, III,

             Defendant.


                              MEMORANDUM ORDER

      This matter is before the Court on Defendant Ricardo Bornales,

 III, (“Defendant”) motion for compassionate release pursuant to 18

 U.S.C. § 3582(c)(1)(A) due to the COVID-19 pandemic, filed with the

 assistance of counsel.      ECF No. 343.     The Government has filed a

 brief in response indicating that it does not oppose Defendant’s

 request for compassionate release, but noting that an immigration

 detainer precludes Defendant from being released to his family.

 ECF No. 351.      Defendant filed a reply brief further arguing in

 support of release notwithstanding the detainer. ECF No. 352.            For

 the reasons set forth below, Defendant’s motion is GRANTED.

                        A. Administrative Remedies

      Pursuant to 18 U.S.C. § 3582, this Court “may not modify a

 term of imprisonment once it has been imposed,” except in very

 narrow circumstances.     18 U.S.C. § 3582(c).      One such circumstance

 is when a federal inmate files a motion seeking “compassionate
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 release” after pursuing administrative remedies through the United

 States Bureau of Prisons (“BOP”).                    Here, Defendant has submitted

 evidence indicating that he filed an administrative request for

 compassionate release on June 15, 2020.                           ECF No. 343-1.              The

 Government        does    not   challenge       the     sufficiency           of    Defendant’s

 efforts to exhaust his administrative remedies, and the Court

 agrees with the parties that Defendant’s motion is properly before

 this Court.

                                         B. Merits

       Defendant, who at the time had no criminal record other than

 a   prior    DWI     conviction,        pled       guilty    in    January          2006     to   a

 methamphetamine           trafficking      conspiracy            and     money       laundering

 conspiracy,        and    he    was    subsequently         sentenced         to    262     months

 imprisonment.        See ECF Nos. 125, 162, 289.                       Defendant has been

 incarcerated since October of 2005, and is currently being held at

 Reeves      III    Correctional        Institution,          a    private          prison    that

 contracts with the BOP.

       For the reasons set forth in greater detail in Defendant’s

 compassionate release motion, reply brief, and supporting exhibits,

 ECF   Nos.    343,       346,   352,    the     Court    finds         that    Defendant      has

 demonstrated       “extraordinary         and      compelling      reasons”          justifying

 compassionate            release.             First,        considering             Defendant’s

 susceptibility to severe illness from COVID-19, it is undisputed




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 that    Defendant      has   numerous       long-term       chronic   health   issues,

 including type II diabetes and hypertension.                      See ECF No. 346, at

 2; ECF No. 289 ¶ 78. Additionally, supplemental medical information

 recently submitted by Defendant indicates that he also suffers from

 “Chronic kidney disease, stage 2.”                     ECF No. 352-1.     The CDC has

 found that both “type 2 diabetes” and “chronic kidney disease of

 any stage,” place people “at increased risk for severe illness”

 from COVID-19, with the CDC further concluding that hypertension

 “might”        increase      the     risk        for     severe     illness.       See

 https://www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions/

 people-with-medical-conditions.html (last visited Nov. 5, 2020).

 Defendant’s medical records further reveal multiple additional

 conditions      that     raise     further       concerns    regarding    Defendant’s

 overall health.          Additionally, Defendant is fifty years old, and

 while    his    age    presents     a   somewhat        limited    risk   factor   when

 considered alone, his age is notable when coupled with his multiple

 health conditions, as the CDC has concluded that “people in their

 50s are at higher risk for severe illness [from COVID-19] than

 people    in     their    40s.”         https://www.cdc.gov/coronavirus/2019-

 ncov/need-extra-precautions/older-adults.html (last visited Nov.

 5, 2020).

         Considering Defendant’s risk of contracting COVID-19 while

 incarcerated, Defendant is currently held at a “privately-managed




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 prison” under contract and oversight of the BOP, and the BOP

 provides   less   public   information     regarding   such   facilities    as

 compared to BOP run facilities, most notably, the BOP does not

 provide information regarding the extent of COVID-19 testing at

 privately managed facilities.        However, the BOP does report the

 total number of inmates with a positive COVID-19 test at privately

 managed facilities, and consistent with Defendant’s arguments in

 his reply brief, the Reeves III facility where Defendant is housed

 is currently reporting 22 inmates with positive COVID-19 tests, the

 highest number of active cases among privately managed facilities.

 https://www.bop.gov/coronavirus/          (last   visited   Nov.   5,   2020).

 While 22 active cases represent a relatively small number when

 compared to outbreaks at certain facilities run by the BOP, defense

 counsel reports that Reeves III had only one positive case four

 weeks ago when Defendant’s motion was filed, indicating that COVID-

 19 is actively spreading at Reeves III. 1

      As argued by Defendant, and appropriately acknowledged by the

 Government given the facts of this case, Defendant has demonstrated

 an “extraordinary and compelling” reason justifying compassionate

 release given his numerous documented long-term medical conditions


 1 Defense counsel also argues, with citation to publicly available COVID-19

 resources, that the incidence of COVID-19 cases in the Texas county where
 Defendant’s prison is located is currently rising, and that Texas recently
 reported more new COVID-19 cases than any other state in the country (thereby
 increasing the risk that prison staff could bring COVID-19 into the Reeves
 III facility).


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 and his current conditions of confinement.          See United States v.

 White, -- F.    Supp.   3d --, No. 2:07cr150, 2020 WL 1906845, at *1

 n.2 (E.D. Va. Apr. 17, 2020) (noting that “in the context of the

 COVID-19 outbreak, courts have found extraordinary and compelling

 reasons for compassionate release when an inmate shows both a

 particularized susceptibility to the disease and a particularized

 risk of contracting the disease at his prison facility” (quoting

 United States v. Feiling, No. 3:19cr112, 2020 WL 1821457 at *7

 (E.D. Va. Apr. 10, 2020))).      Moreover, as argued in greater detail

 in Defendant’s motion, ECF No. 343, at 20-24, and as further

 supported by the letters submitted by Defendant in support of

 compassionate release, the § 3553(a) statutory sentencing factors

 favor the Court exercising its discretion to grant compassionate

 release.    See United States v. Webster, -- F. Supp. 3d. --, No.

 3:91cr138, 2020 WL 618828, at *5 (E.D. Va. Feb. 10, 2020) (outlining

 the contours of the Court’s discretion and the relevant § 3553(a)

 and   public   safety   considerations).       Among   the   most   notable

 considerations are Defendant’s lack of a prior criminal history,

 lack of a history of violence, the fact that he has served fifteen

 years in prison for non-violent drug/money laundering offenses that

 did not involve a firearm, the fact that Defendant has served 80%

 of his sentence after consideration of good time credits, and the




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 absence of any suggestion by the Government that Defendant has not

 been a model inmate, as he reports.

      Although Defendant does have an immigration detainer: (1)

 Defendant represents that he has lived in this country since he was

 13 years old; (2) Defendant acknowledges his need to address the

 detainer   but   still   seeks   release   at   this       time;   and   (3)   the

 Government does not argue that the detainer should preclude the

 Court from granting compassionate release, although such detainer

 obviously impacts Defendant’s “release plan.”          2   After consideration

 of all the relevant facts, the § 3553(a) factors, and the applicable

 policy statements issued by the Sentencing Commission, the Court

 finds that the § 3553(a) factors weigh in favor of compassionate

 release, further finding that Defendant will not pose a danger to




 2  The Court carefully considered the impact of the detainer on the
 compassionate release calculus, having some initial concerns that Defendant
 could find himself detained in his immigration matter in conditions creating
 the same, or even a greater, risk of COVID-19 exposure than he currently
 faces (thus undercutting the argument that Defendant has demonstrated a
 “compelling” reason for release from BOP custody).     However, the Court’s
 initial hesitation was grounded in multiple unknowns, to include whether
 Defendant will be held in ICE custody beyond the initial 14-day ICE
 quarantine period (or an alternative 90-day period) referenced in the
 Government’s brief. Consistent with Defendant’s argument in his reply brief,
 it is the Court’s understanding that ICE evaluates new detainees based on
 the CDC’s COVID-19 guidance, and people like Defendant, who are plainly at
 high risk for severe illness from COVID-19, may be released after a review
 that considers, among other things, immigration history, criminal record,
 threat to the public or national security, flight risk, etc. Because so
 many of these factors appear favorable to Defendant, and in the absence of
 any objection from the Government, the Court concluded that compassionate
 release remained appropriate notwithstanding the immigration detainer.


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 the safety of any other person or to the community.               18 U.S.C.

 § 3582(c)(1)(A); U.S.S.G. § 1B1.13. 3

      Accordingly, based on the above, and in the absence of any

 opposition by the Government, the Court GRANTS Defendant’s motion

 and reduces his sentence in this case to a term of “TIME SERVED.” 4

 In all other respects, the judgment entered in this case, including

 the five-year supervised release term, and all conditions imposed

 therein   shall   remain   in   effect.    Additionally,     as   a   special

 condition of his supervised release, Defendant is hereby ORDERED

 to be surrendered to a duly-authorized official of the Department

 of Homeland Security, U.S. Immigration and Customs Enforcement

 (ICE), upon his release from incarceration.




 3 The text of U.S.S.G. § 1B1.13 and the Guideline application note defining
 the phrase “extraordinary and compelling” have not been updated since the
 passage of the First Step Act to reflect an inmate’s ability to directly
 petition the Court for compassionate release. The Court finds that § 1B1.13
 and its application notes in their current form remain instructive and do
 not prohibit this Court from granting compassionate release, in the
 appropriate case, due to the risk created by the COVID-19 pandemic. See
 United States v. Rodriguez, No. 2:03-CR-00271-AB-1, 2020 WL 1627331, at *4
 (E.D. Pa. Apr. 1, 2020).
 4 The Court elected not to impose a term of home confinement as an additional

 term of supervised release in light of: (1) the likelihood that Defendant
 will serve additional time in ICE custody; (2) the fact that Defendant’s
 movements will presumably be closely monitored by ICE officials if he is
 released; (3) Defendant’s lack of a prior criminal record and apparent low
 risk of recidivism; and (4) the absence of any request from the Government
 for an additional term of home confinement.       Mr. Bornales, however, is
 expressly ADVISED of the need to strictly comply with all conditions of
 supervised release should he be released from the custody of immigration
 officials, and any violation of such conditions following the instant
 sentence reduction will not be taken lightly by the Court.


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      The BOP shall have fourteen (14) days from the date of this

 Order to process Defendant’s release/transfer and to administer a

 quarantine period prior to Defendant’s transfer to ICE custody.           If

 a quarantine period of fourteen days is required by the BOP, such

 period should begin immediately.

      The Clerk is REQUESTED to forward a copy of this Order to all

 counsel of record, the Federal Bureau of Prisons, the United States

 Marshal’s Office, and the Probation Office of this Court.

      IT IS SO ORDERED.




                                                     /s/
                                               Mark S. Davis
                                     CHIEF UNITED STATES DISTRICT JUDGE
 Norfolk, Virginia
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 November ____, 2020




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